Case 4:19-cr-40025-TSH Document 494 Filed OSISOIRAR BAER |

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UNITED STATES DISTRICT COURT 2
DISTRICT OF MASSACHUSETTS | 2 Hh
UNITED STATES OF AMERICA, ae
Vv. No. 4:19-cr-40025-TSH
JUNIOR MELENDEZ
Defendant.

 

 

1.

VERDICT FORM FOR DEFENDANT JUNIOR MELENDEZ

As to COUNT ONE of the Indictment, charging the defendant JUNIOR MELENDEZ
with conspiracy to distribute and possess with intent to distribute cocaine, we the jury,
find the Defendant, JUNIOR MELENDEZ:

NOT GUILTY V_ GUILTY

If your verdict is NOT GUILTY, please STOP here, and sign and date the verdict slip.
If your verdict is GUILTY, please proceed to Question 2.

Did the conspiracy described in COUNT ONE involve 500 grams or more of a mixture
and substance containing a detectable amount of cocaine?

___NO _V YES

If your answer to Question 2 is NO, please STOP here, and sign and date the verdict slip.
If your answer to Question 2 is YES, please proceed to Question 3.

With respect to the conspiracy described in COUNT ONE, were 500 grams or more of a
mixture and substance containing a detectable amount of cocaine attributable to and
reasonably foreseeable by the defendant, JUNIOR MELENDEZ?

___ NO WV. yrs

The foregoing represents the unanimous decision of the jury for JUNIOR MELENDEZ.

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Foreperson
